869 F.2d 594Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roscoe William MILLION, Plaintiff-Appellant,v.Edward MURRAY;  Ed Morris;  Robert Young;  Superintendent,Wise Correctional Unit;  Custodian, WiseCorrectional Unit, Defendants-Appellees.
    No. 88-7825.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Jan. 25, 1989.Decided:  Feb. 21, 1989.
    
      Roscoe William Million, appellant pro se.
      Robert Harkness Herring, Jr.  (Office of the Attorney General of Virginia), for appellees.
      Before K.K. HALL and ERVIN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Roscoe William Million appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Million v. Murray, C/A No. 88-115-B (W.D.Va. Nov. 11, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    